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                        Exhibit F
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                        Beth Wilkinson Assurances regarding
            Sullivan Hearing in Oral Argument Transcript August 11, 2020

128: 4-7            Of course the Court would follow the law, which starts with a
                    very narrow scope of any argument or hearing on a Rule 48(a)
                    motion in these circumstances.
128: 9-11           Nowhere has the trial judge said that he’s going to collect
                    evidence or require affidavits
128: 11-15          He (Gleeson) pointed out where some of these issues are, but
                    there’s nothing that suggests he’s going to do other, anything
                    other than have a hearing where the lawyers argue the motion.
                    There can be follow-up questions by him on the motion, and
                    he’ll decide the motion.
128: 18-20          [T]here is no signaling to them that there are going to be these
                    onerous or invasive questions
132: 4              We are not forecasting anything.
132: 6-9            All the district court has done is ensure adversarial briefing
                    and an opportunity to ask questions about a pending motion.
                    That’s all the Court has planned to do. That’s all the Court
                    plans to do.
132: 20- 133: 2     And in our initial briefing, we pointed out that when the
                    Government signed the motion to dismiss, it was only the
                    acting US Attorney. We did not say that therefore there needs
                    to be some and there’s going to be any requirement. Again, the
                    parties are speculating, and I think even said this might turn
                    in, they suspect it will become a circus. There’s absolutely no
                    basis for that.
133: 3-7            There’s nothing in anything that the court has done below or
                    has done in its pleading to suggest it will do anything [other]
                    than follow the law and listen to the arguments of the parties,
                    ask any follow-up questions, and rule on the motion to dismiss.

133: 19-20          [Gleeson] said he’s not requesting any fact-finding
134: 22- 135:1      There’s no reason to believe the Court won’t ask anything but
                    what’s narrowly prescribed in this hearing, which is listening to
                    the arguments and asking any follow-up questions to those
                    arguments
142: 6-12           There is no reason to believe that this judge who has over 25
                    years of experience on the district court would do anything but
                    follow the law
144: 3-9            I think the Government should attend the hearing, and if
                    there’s anything inappropriate about the hearing, they should
                    refuse to present witnesses, if that’s what they are being asked
                    for…
146:25- 147:2       The court should go as fast as possible. And here, there’s no
                    suggestion that there was any delay
149: 20-22          Of course, the court cannot second-guess the prosecutorial
                    decision made by the Government
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150: 2-4        So it would be fact specific, but it certainly doesn’t include
                second-guessing the prosecutorial decisions
155: 3-7        Well, Your Honor, if we suggested in our pleadings specifically
                what the questions would be, then that’s my error. There is no
                basis to believe that there [are] any specific questions that are
                contemplated yet.

155: 9-13       It’s not clear that that’s true, but again if that happens or if it
                had happened based on the briefing, the Government can make
                that point to the Court, and the Court could say, okay, I’m not
                going to pursue those questions any further.
155: 19-21      But again, if the Government believes that questions by the
                Court somehow invade or usurp their power, that’s all they
                need to say.

156: 21-22      There’s a presumption that the district court will do its job and
                follow the law
161: 1-2        [I’ll start with the first question of] whether any instructions
                are necessary for the district court. They are not.

161: 9-18       I certainly don’t see any reason to think that there’s going to be
                this invasive questioning. There is nothing in the record, as I
                stated earlier, to suggest any question that Judge Sullivan
                intends to ask. But certainly there’s been no request for
                evidence. There’s been no request for declarations or affidavits
                or witnesses or any of these things that were kind of weaved
                into some of the parties’ pleadings to suggest that the judge was
                somehow going to go beyond the narrow scope of a legal hearing
                on a motion to dismiss.
162: 16-25      If you just start with where we were a couple weeks ago before
                Mr. Gleeson filed his brief, there was speculation, oh, there’s
                going to be a request for evidence and fact-finding. And then
                when we waited or, you know, we came to the point where Mr.
                Gleeson filed his brief, and he said he’s not requesting any fact-
                finding. So I think it’s, I think the general scope would be
                narrow, but it may be even, an even thinner read or a smaller
                list of questions when all of the briefing is finished. And that’s
                just hard to predict.
